    Case 21-30085-hdh11 Doc 362 Filed 03/15/21                       Entered 03/15/21 16:12:11              Page 1 of 15




The following constitutes the ruling of the court and has the force and effect therein described.


Signed March 15, 2021
                                            United States Bankruptcy Judge
______________________________________________________________________




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION

                                                                         )
         In re:                                                          ) Chapter 11
                                                                         )
         NATIONAL RIFLE ASSOCIATION OF                                   ) Case No. 21-30085 (HDH)
         AMERICA and SEA GIRT LLC1                                       )
                                                                         )
                                          Debtors.                       ) Jointly Administered
                                                                         )

              ORDER PURSUANT TO SECTION 327(e) OF THE BANKRUPTCY CODE
             AUTHORIZING THE RETENTION AND EMPLOYMENT OF KIRKLAND &
            ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP AS SPECIAL
           LITIGATION COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION
                           EFFECTIVE AS OF JANUARY 15, 2021

                  Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

     possession, Sea Girt LLC (“Sea Girt”) and the National Rifle Association of America (the “NRA”

     and, collectively with Sea Girt, the “Debtors”) for entry of an order (the “Order”) authorizing the



     1
           The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
           Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
     2
           Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
Case 21-30085-hdh11 Doc 362 Filed 03/15/21               Entered 03/15/21 16:12:11          Page 2 of 15




 Debtors to retain and employ Kirkland & Ellis LLP and Kirkland & Ellis International LLP

 (collectively, “Kirkland”) as special litigation counsel effective as of the Petition Date, pursuant

 to sections 327(e) and 330 of title 11 of the United States Code (the “Bankruptcy Code”), rules

 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

 rules 2014-1 and 2016-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for

 the Northern District of Texas (the “Local Rules”); and the Court having reviewed the Application,

 and the Declaration of Erin E. Murphy, a partner at Kirkland (the “Murphy Declaration”) and the

 Declaration of Michael T. Jean, the Director of the Office of Litigation Counsel, of the National

 Rifle Association of America, Inc., Institute for Legislative Action (the “Jean Declaration”); and

 the Court having found that the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334; and the Court having found that the Application is a core proceeding pursuant to

 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the

 Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

 found based on the representations made in the Application and in the Murphy Declaration that

 Kirkland does not represent or hold an interest adverse to the Debtors or the estates with respect

 to the matters on which it is seeking to be employed; and the Court having found that the relief

 requested in the Application is in the best interests of the Debtors’ estates, their creditors, and other

 parties in interest; and the Court having found that the Debtors provided adequate and appropriate

 notice of the Application under the circumstances and that no other or further notice is required;

 and the Court having reviewed the Application and having heard statements in support of the

 Application at a hearing held before the Court (the “Hearing”); and the Court having determined

 that the legal and factual bases set forth in the Application and at the Hearing establish just cause

 for the relief granted herein; and any objections to the relief requested herein having been




                                                    2
Case 21-30085-hdh11 Doc 362 Filed 03/15/21            Entered 03/15/21 16:12:11         Page 3 of 15




 withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

 therefor, it is HEREBY ORDERED THAT:

        1.      The Application is granted to the extent set forth herein.

        2.      The Debtors are authorized to retain and employ Kirkland as special litigation

 counsel effective as of the Petition Date in accordance with the terms and conditions set forth in

 the Application and the Engagement Letter attached hereto as Exhibit 1.

        3.      Kirkland is authorized to provide the Debtors with the professional services as

 described in the Application and the Engagement Letter.

        4.      Kirkland shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.

        5.      Notwithstanding anything to the contrary in the Application, the Engagement

 Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

 reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

 responding to any action, claim, suit, or proceeding brought by or against any party that relates to

 the legal services provided under the Engagement Letter and fees for defending any objection to

 Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

 the Court.

        6.      Kirkland shall not charge a markup to the Debtors with respect to fees billed by

 contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

 that any such contract attorneys are subject to conflict checks and disclosures in accordance with

 the requirements of the Bankruptcy Code and Bankruptcy Rules.




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Case 21-30085-hdh11 Doc 362 Filed 03/15/21              Entered 03/15/21 16:12:11         Page 4 of 15




        7.      Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

 and any official committee before any increases in the rates set forth in the Application or the

 Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

 retains all rights to object to any rate increase on all grounds, including the reasonableness standard

 set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

 increase pursuant to section 330 of the Bankruptcy Code.

        8.      Pursuant to Local Bankruptcy Rule 2014-1(a), because the application for approval

 of the employment of Kirkland was made within 30 days of the commencement of Kirkland’s

 provision of services to the Debtors and Debtors in Possession, it is deemed contemporaneous.

        9.      The Debtors and Kirkland are authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Order in accordance with the Application.

        10.     Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the requirements of the Local Rules are satisfied by the contents

 of the Application.

        11.     To the extent the Application, the Murphy Declaration, the Jean Declaration, or the

 Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

        12.     The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        13.     This Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.

                               ### END OF PROPOSED ORDER ###




                                                   4
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 5 of 15




                                    EXHIBIT 1

                                Engagement Letter
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 6 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 7 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 8 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 9 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 10 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 11 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 12 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 13 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 14 of 15
Case 21-30085-hdh11 Doc 362 Filed 03/15/21   Entered 03/15/21 16:12:11   Page 15 of 15
